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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                       Chapter 11

    BOY SCOUTS OF AMERICA and                                    Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,
                                                                 (Jointly Administered)
                                Debtors.1
                                                                 Re: Docket Nos. 11628 & 11629

                                                                               Objection Deadline: At the hearing
                                                                Hearing Date: December 20, 2023 at 2:00 p.m. (ET)

      NOTICE OF MOTION OF CLAIMANT D.J.P. TO RESUBMIT CLAIM NO. 51247

                   PLEASE TAKE NOTICE that, on November 17, 2023, claimant D.J.P. filed a

motion to resubmit claim no. 51247 (the “Motion”) [SEALED Docket No. 11628] [REDACTED

Docket No. 11629] with the United States Bankruptcy Court for the District of Delaware, 824

Market Street, 3rd Floor, Wilmington, Delaware 19801 (the “Bankruptcy Court”).

                   PLEASE TAKE FURTHER NOTICE that a hearing to consider approval of the

Motion will be held on December 20, 2023 at 2:00 p.m. Prevailing Eastern Time (the

“Hearing”) before the Honorable Laurie Selber Silverstein, Chief United States Bankruptcy

Judge, at the United States Bankruptcy Court for the District of Delaware, 824 Market Street, 6th

Floor, Courtroom No. 2, Wilmington, Delaware 19801.

                   PLEASE TAKE FURTHER NOTICE that any response or objection to the

Motion may be made at the Hearing.




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  The Debtors in these chapter 11 cases, together with the last four digits of Debtors’ federal tax identification number,
are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing address is 1325
West Walnut Hill Lane, Irving, Texas 75038.



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                   PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF

REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE OR HEARING.

Dated: December 15, 2023
Wilmington, Delaware                     PACHULSKI STANG ZIEHL & JONES LLP

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                                         – and –

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                                         Attorneys for the Honorable Barbara J. Houser
                                         (Ret.), in her capacity as Trustee of the BSA
                                         Settlement Trust




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